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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

GARY BRICE McBAY,
Plaintiff,

VERSUS CIVIL ACTION NO: 1:07cv1l205LG—-RHW

HARRISON COUNTY, MISSISSIPPI,

by and through its Board of

Supervisors; HARRISON COUNTY

SHERIFF, George Payne, in his

official capacity; CORRECTIONS

OFFICER MORGAN THOMPSON,

acting under color of state law,
Defendants.

30 (b) (6) DEPOSITION OF HARRISON
COUNTY SHERIFF'S DEPARTMENT,
STEPHEN E. CAMPBELL, DESIGNEE

Taken at the offices of Dukes, Dukes,
Keating & Faneca, P.A., 2909 13th
Street, Sixth Floor, Gulfport,
Mississippi, on Thursday, October 1,
2009, beginning at 1:23 p.m.

APPEARANCES:

PATRICK R. BUCHANAN, ESQUIRE

MARK V. WATTS, ESQUIRE

Brown Buchanan, P.A.

796 Vieux Marche’ Mall, Suite 1

Biloxi, Mississippi 39530
ATTORNEYS FOR PLAINTIFF

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E-mail: Imigues@sbmreporting.com

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A. I understand.
MR. GEWIN:

Mark, let me interrupt you before you go
any further.
MR. WATTS:

sure.
MR. GEWIN:

This is information that Mr. Campbell
provided to us, not today, but fairly recently.
It's three documents. There's an audiotape that
Mr. Campbell brought us. These are from his home.
I believe this is the Seal audiotape from a phone
conversation. And he brought us a DVD that he had

at home, which had music on it.

MR. WATTS:

Had just music on it?
MR. GEWIN:

Music.
MR. WATTS:

Can we go off the record?
MR. GEWIN:

sure.
MR. WATTS:

And is it okay if we can listen to
the --

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MR. GEWIN:
Yeah. I thought y'all might want to do
that.
(Off the record.)
MR. WATTS:
Q. Mr. Campbell, how long did you work for

the Harrison County Sheriff's Department?

A. I went to work there the first of
September 2002, and I left -- I got off the
payroll the middle of January 2008.

Q. Okay. Why did you leave the sheriff's
department?

A. There was a new sheriff in town. I

wasn't invited.

Q. So you voluntarily left?
A. Yeah. Yeah.
Q. Did you talk to the new sheriff and want

to stay or anything?

A. No. He and I didn't agree back when he
was with the sheriff's department. We just --
well, anyway, so I just -- I knew I wasn't going
to be there, so I just asked him -- I told him I'd
like to resign. He said okay.

Q. He didn't ask you to stay?

A. No, no. I knew he wasn't going to ask

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Q. And once you learned how to create a DVD
from your digital recordings in the booking room,
if there was an investigation and there was a
digital recording of the alleged incident, would

that DVD be put in that file?

A. No.
Q. Why?
A. Because I didn't make a DVD. I put it

on my hard drive.

Q. But you knew how to make DVDs, correct?

A. Correct.

Q. and you just chose not to put them in
the file?

A. Some of them I did; some of them I
didn't.

Q. What made you choose to or choose not

to? What was the factors involved there?

A. Well, the first one I did was Kasey
Alves because, you know, it was _- somebody -- the
Department of Justice got involved in that one, so
I made a copy of that. I made a copy of Jessie
Lee Williams and -- but I saved them in the hard

drive, other ones, and I might have probably -- I

might have made copies of some other ones.

Q. When you did an investigation and there

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A. Yes. I think I was returning his call.

Q. And in the conversation we heard, that
was you calling him? You were returning his call?

A. Correct.

Q. Is that the only time that you've taped
Mr. Seal in a conversation?

A. No. The other one, it was mentioned on
that tape. There was a first one when I talked to

him, but I don't know where it's at.

Q. Did you tell him that you were taping
him?

A. No.

Q. Where was that tape kept?

A. I kept them.

Q. In your office?

A. In my office.

Q. Okay. And then after you retired, you

took the tapes with you?

A. Some of them. Some of them were gone.

QO. What do you mean "gone"?

A. They were just gone. I don't know where
they are. From when the head -- I mean, the
Department of Justice guys came down -- anyway,

they gave me a target letter, and so the sheriff

had a policy -- he put me on administrative leave.

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drive?
A. Yeah, probably. Usually that's how I

would do it, by the name.

Q. If you save something to your hard drive
and somebody made -- is that -- I'm sorry. I'm
messing up. Is the reason you save something to

your hard drive, a video, is because someone made
a-complaint and you were doing an investigation?
A. Right. Most of the time, sure.
Q. And if you did an investigation and
there was a video and you saved it to your hard
drive, would you ever delete those later?

A. Would I delete them?

Q. . Yeah.
A. No.
Q... Was it a policy of anyone to delete

videos after a certain amount of time?

RyoooNOwwl kept everything.

Q. Would you agree that if you -- if
someone makes a complaint and an investigation is
made and there's a video involved, that that video
should be kept for a certain amount of time?

A. And it was. It was kept -- I know it
was kept till I left.

QO. What's the standard amount of time a

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video is kept?

A. I kept them forever. If I was still
there, I'd still have them. But this happened --
with Seal, that was 2005, and I left in
January 2008. And as far as I knew, it was still
there, and there wasn't no lawsuit or anything
filed, so -- I mean, I didn't delete it.

Q. And as far as your knowledge of the
system, the hard drive that this video was saved
to, if it was deleted, would someone have to
intentionally delete it?

A. It had the Windows program on it. Okay.
And you just save it, saved it to a file like you
do anything else. And I don't think it would just
delete itself.

QO. Fair enough. Was it a policy of the
jail, if someone made a complaint and there was a

video about it and an investigation was made, to

keep those videos for a certain amount of time?

Did you institute a policy to keep those videos a
certain amount of time?

A. I didn't write a policy. I just kept
them.

Q. Did you tell people in the jail that

these things should be kept for a minimum of three

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